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                              Case 1:19-cv-02117 Document 1-8 Filed 07/16/19 Page 1 of 1

  AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                                for the

                                                           __________  District
                                                                 District       of __________
                                                                          of Columbia

         Capital Area Immigrants' Rights Coalition, et al.                          )
                                                                                    )
                                                                                    )
                                                                                    )
                             Plaintiff(s)                                           )
                                                                                    )
                                  v.                                                      Civil Action No.
                                                                                    )
DONALD J. TRUMP, in his official capacity as President of the United States, et al.,)
                                                                                    )
                                                                                    )
                                                                                    )
                           Defendant(s)                                             )

                                                           SUMMONS IN A CIVIL ACTION

  To: (Defendant’s name and address) Executive Office for Immigration Review
                                             U.S. Department of Justice
                                             5107 Leesburg Pike
                                             Falls Church, VA 22041




             A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
  whose name and address are: Neal K. Katyal
                                             Hogan Lovells US LLP
                                             555 Thirteenth Street NW
                                             Washington, DC 20004




         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                             ANGELA D. CAESAR, CLERK OF COURT


  Date:
                                                                                                       Signature of Clerk or Deputy Clerk
Case 1:19-cv-02117 Document 1-9 Filed 07/16/19 Page 1 of 1




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                             Case 1:19-cv-02117 Document 1-10 Filed 07/16/19 Page 1 of 1

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DONALD J. TRUMP, in his official capacity as President of the United States, et al.,$
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                                                           SUMMONS IN A CIVIL ACTION

  >Q/ ")9;9A86AFKE A6@9 6A8 688D9EE# Jessie K. Liu
                                             United States Attorney's Office
                                             555 4th Street NW
                                             Washington, DC 20530




             1 NCXTVKU JCT DGGP HKNGF CICKPTU ZQV&

           @KUJKP *) FCZT CHUGS TGSWKEG QH UJKT TVOOQPT QP ZQV #PQU EQVPUKPI UJG FCZ ZQV SGEGKWGF KU$ [ QS .( FCZT KH ZQV
  CSG UJG ?PKUGF =UCUGT QS C ?PKUGF =UCUGT CIGPEZ% QS CP QHHKEGS QS GORNQZGG QH UJG ?PKUGF =UCUGT FGTESKDGF KP 5GF& <& 2KW&
  ;& )* #C$#*$ QS #+$ [ ZQV OVTU TGSWG QP UJG RNCKPUKHH CP CPTXGS UQ UJG CUUCEJGF EQORNCKPU QS C OQUKQP VPFGS <VNG )* QH
  UJG 5GFGSCN <VNGT QH 2KWKN ;SQEGFVSG& >JG CPTXGS QS OQUKQP OVTU DG TGSWGF QP UJG RNCKPUKHH QS RNCKPUKHH\T CUUQSPGZ%
  XJQTG PCOG CPF CFFSGTT CSG/ Neal K. Katyal
                                             Hogan Lovells US LLP
                                             555 Thirteenth Street NW
                                             Washington, DC 20004




         6H ZQV HCKN UQ SGTRQPF% LVFIOGPU DZ FGHCVNU XKNN DG GPUGSGF CICKPTU ZQV HQS UJG SGNKGH FGOCPFGF KP UJG EQORNCKPU&
  AQV CNTQ OVTU HKNG ZQVS CPTXGS QS OQUKQP XKUJ UJG EQVSU&



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    19 ,,( #<GW& (.')*0 32 +')-$ =VOOQPT KP C 2KWKN 1EUKQP


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DONALD J. TRUMP, in his official capacity as President of the United States, et al.,   $
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                                                             SUMMONS IN A CIVIL ACTION

    >Q/ ")9;9A86AFKE A6@9 6A8 688D9EE# James McHenry, in his official capacity as Director of the Executive Office for
                                               Immigration Review
                                               U.S. Department of Justice
                                               5107 Leesburg Pike
                                               Falls Church, VA 22041




               1 NCXTVKU JCT DGGP HKNGF CICKPTU ZQV&

             @KUJKP *) FCZT CHUGS TGSWKEG QH UJKT TVOOQPT QP ZQV #PQU EQVPUKPI UJG FCZ ZQV SGEGKWGF KU$ [ QS .( FCZT KH ZQV
    CSG UJG ?PKUGF =UCUGT QS C ?PKUGF =UCUGT CIGPEZ% QS CP QHHKEGS QS GORNQZGG QH UJG ?PKUGF =UCUGT FGTESKDGF KP 5GF& <& 2KW&
    ;& )* #C$#*$ QS #+$ [ ZQV OVTU TGSWG QP UJG RNCKPUKHH CP CPTXGS UQ UJG CUUCEJGF EQORNCKPU QS C OQUKQP VPFGS <VNG )* QH
    UJG 5GFGSCN <VNGT QH 2KWKN ;SQEGFVSG& >JG CPTXGS QS OQUKQP OVTU DG TGSWGF QP UJG RNCKPUKHH QS RNCKPUKHH\T CUUQSPGZ%
    XJQTG PCOG CPF CFFSGTT CSG/ Neal K. Katyal
                                               Hogan Lovells US LLP
                                               555 Thirteenth Street NW
                                               Washington, DC 20004




           6H ZQV HCKN UQ SGTRQPF% LVFIOGPU DZ FGHCVNU XKNN DG GPUGSGF CICKPTU ZQV HQS UJG SGNKGH FGOCPFGF KP UJG EQORNCKPU&
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19 ,,( #<GW& (.')*0 32 +')-$ =VOOQPT KP C 2KWKN 1EUKQP


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    DONALD J. TRUMP, in his official capacity as                    $
       President of the United States, et al.,
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                                                    SUMMONS IN A CIVIL ACTION

>Q/ ")9;9A86AFKE A6@9 6A8 688D9EE# Donald J. Trump, in his official capacity as President of the United States
                                       The White House
                                       1600 Pennsylvania Avenue NW
                                       Washington, DC 20500




          1 NCXTVKU JCT DGGP HKNGF CICKPTU ZQV&

         @KUJKP *) FCZT CHUGS TGSWKEG QH UJKT TVOOQPT QP ZQV #PQU EQVPUKPI UJG FCZ ZQV SGEGKWGF KU$ [ QS .( FCZT KH ZQV
CSG UJG ?PKUGF =UCUGT QS C ?PKUGF =UCUGT CIGPEZ% QS CP QHHKEGS QS GORNQZGG QH UJG ?PKUGF =UCUGT FGTESKDGF KP 5GF& <& 2KW&
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UJG 5GFGSCN <VNGT QH 2KWKN ;SQEGFVSG& >JG CPTXGS QS OQUKQP OVTU DG TGSWGF QP UJG RNCKPUKHH QS RNCKPUKHH\T CUUQSPGZ%
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                                       Hogan Lovells US LLP
                                       555 Thirteenth Street NW
                                       Washington, DC 20004




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AQV CNTQ OVTU HKNG ZQVS CPTXGS QS OQUKQP XKUJ UJG EQVSU&



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